      Appellate Case: 24-6139     Document: 56      Date Filed: 06/26/2025     Page: 1
                                                                                     FILED
                                                                         United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                            Tenth Circuit

                             FOR THE TENTH CIRCUIT                               June 26, 2025
                         _________________________________
                                                                             Christopher M. Wolpert
                                                                                 Clerk of Court
 BLACK EMERGENCY RESPONSE
 TEAM, et al.,

        Plaintiffs - Appellants/Cross-
        Appellees,

 v.                                                  Nos. 24-6139, 24-6140 & 24-6141
                                                       (D.C. No. 5:21-CV-01022-G)
 GENTNER DRUMMOND, in his official                             (W.D. Okla.)
 capacity as Oklahoma Attorney General, et
 al.,

        Defendants - Appellees/Cross-
        Appellants,

 and

 UNIVERSITY OF OKLAHOMA BOARD
 OF REGENTS, et al.,

        Defendants.
                         _________________________________

                                      ORDER
                         _________________________________

        This matter is before the court following review of the parties’ June 23 and 26,

2025 status reports, where the parties agree that the abatement of these cross-appeals

should be lifted and that merits briefing should proceed.

        Upon consideration, the abatement is lifted in these cross-appeals and briefing will

proceed as follows.
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      Within 30 days from the date of this order, Plaintiffs-Appellants shall file the first

brief on cross-appeal and appendix. Briefing will otherwise proceed pursuant to Fed. R.

App. P. 28.1 and this court’s August 1, 2024 order regarding briefing in these appeals.




                                              Entered for the Court



                                              CHRISTOPHER M. WOLPERT, Clerk




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